                 Case 3:07-cr-05656-JKA                 Document 88           Filed 01/17/08          Page 1 of 11


1                                                         HONORABLE J. KELLEY ARNOLD                       Deleted:    Jack W. Fiander
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4
                                                                                                           Deleted: MEMORANDUM IN
                                                                                                           SUPPORT OF
5
                                                                                                           Deleted: IN LIMINE OR IN THE
                            IN THE UNITED STATES DISTRICT COURT                                            ALTERNATIVE TO SUPPRESS
6                         FOR THE WESTERN DISTRICT OF WASHINGTON                                           STATEMENTS¶
                                                                                                           Formatted:        Font: Bold
7    UNITED STATES OF AMERICA,                      )   Case No. CR07-5656-JKA-3                           Deleted:    Introduction¶
                                                    )                                                        The Court entered an Order requiring
8                                                   )                                                      pretrial motions to be filed on or before
                    Plaintiff,                                                                             January 18, 2008. It appears from the
                                                    )   ORDER GRANTING DEFENDANT                           Grand Jury testimony of Government
9                                                   )   NOEL’S MOTION RE OVERLENGTH                        witness William Giles that some of his
            v.                                                                                             testimony was based upon the hearsay
                                                    )   MEMORANDUM                                         statements of others, was based upon
10                                                  )
     WAYNE JOHNSON, et al.,                                                                                statements obtained during custodial
                                                    )                                                      interrogation, constitutes conclusions of
11                                                                                                         law or opinions based upon laws or plans
                    Defendants.                     )                                                      inapplicable to defendant’s conduct on
                                                    )                                                      the date of the alleged offense. ¶
12                                                                                                           Because the evidentiary issues are
                                                                                                           complex, it might unduly prejudice the
                                                                                                           jury and unnecessary prolong trial if
13                                                                                                         defendant simply objected at trial, as this
            THIS MATTER came before the Court on motion of defendant Andrew Noel for leave to              would require the court to excuse the jury
                                                                                                           while argument is presented outside their
14                                                                                                         presence. Consequently, defendant
     file a reply memorandum exceeding six pages as provided by Local Rules. The Court, having             Andrew Noel brings this pretrial motion
15                                                                                                         for a ruling in advance of trial whether
                                                                                                                                                ... [1]

     considered the matter, finds that there is cause for granting the motion, given the complex nature    Deleted:    December
16                                                                                                         Deleted:    7
     of the matters raised in the motion and in the Government’s brief in response to the motion.
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     Therefore, defendant’s motion, docket entry no. 76, is granted. The Clerk shall accept                Formatted:        Font: Bold


18                                                                                                         Formatted:        Font: Bold

     defendant’s reply memorandum (docket entry no. 77) for filing.                                        Formatted:        Superscript

19                                                                                                         Deleted:    ___
            IT IS SO ORDERED.
                                                                                                           Deleted:
20                           th
            DATED this 17 day of January, 2008.                                                            Deleted:    9th

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                                                                       /s/ J. Kelley Arnold                Formatted:        Justified
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      ____________                                                        Hon. J. Kelley Arnold            Formatted:        Justified


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     Order 1
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                                       Introduction

       The Court entered an Order requiring pretrial motions to be filed on or before

January 18, 2008. It appears from the Grand Jury testimony of Government witness

William Giles that some of his testimony was based upon the hearsay statements of

others, was based upon statements obtained during custodial interrogation, constitutes

conclusions of law or opinions based upon laws or plans inapplicable to defendant’s

conduct on the date of the alleged offense.

       Because the evidentiary issues are complex, it might unduly prejudice the jury

and unnecessary prolong trial if defendant simply objected at trial, as this would require

the court to excuse the jury while argument is presented outside their presence.

Consequently, defendant Andrew Noel brings this pretrial motion for a ruling in advance

of trial whether certain such evidence or testimony should be suppressed or otherwise

limited.

                                                                  Page Break




                                         Argument

       1. Statements made by defendant(s) while in custody of the Coast Guard are

the product of a custodial interrogation and are not admissible

       According to the Grand Jury testimony of National Marine Fisheries Service

(NMFS) Agent William Giles, the Coast Guard was advised to detain the defendant until

the arrival of NMFS enforcement staff:

                THE WITNESS: …The Coast Guard went out to
                investigate. When they approached out there, they saw two
                boats, three people in one boat, two people in a smaller
                boat. ..And the smaller boat looked like it had been—like it
                had—was tethered off to the whale…And then the Coast
                Guard made contact out there. And they were also in
                communication with our agents, not only John Haupt, but
                also one of the other supervisors in the Seattle office, Brad
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              Venisch. And they were instructed to investigate and
              detain those individuals until NOAA marine fishery
              investigators could arrive on scene (emphasis added).


              GRAND JUROR: And the three that were on the larger
              boat have admitted nothing.

              THE WITNESS: They did not want to talk to us. Andrew
              Noel did not want to talk to us. He made those statements
              to other folks.
              P. 35 lines 18 - 20.

              MR. OESTERLE: If I could direct your attention to the
              initial Coast Guard questioning of the three individuals, do
              you recall those three individuals in the larger boat being
              asked who was shooting?
              P. 35 lines 21-25 (emphasis added).

              THE WITNESS: Yes. Coast Guard personnel when they
              first got on scene to investigate what were they doing out
              there asked them a series of questions. Are you authorized
              to do this? Who was doing the shooting? And each one of
              them said they were all doing the shooting, shooting the
              weapons. So all five of them. They were all doing the
              shooting.
              P. 36 lines 1-8.

It was apparent that at this point the Coast Guard had been instructed by law enforcement

to investigate and to detain the defendants. As the defendants were not free to leave, and

 the Coast Guard personnel were acting as agents of NMFS law enforcement, during the

 Government’s case in chief neither the “series of questions” the Coast Guard personnel

  asked the defendants nor the defendants responses should be allowed or admitted as

 evidence. Miranda v. Arizona, 384 U.S. 436 (1966). Since the Coast Guard was acting

  and the request and direction of NMFS law enforcement, they are subject to the same

                 constitutional restraints upon custodial interrogations.

       2. Testimony by Agent Giles as to what was said to him by Makah Whaling

Commissioner(s) is inadmissible hearsay.
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        According to the testimony of Agent Giles, defendant Noel went to a Makah tribal

whaling commissioner and “asked to borrow some of the whaling commission’s

weapons”:

                Through the investigation, it was found that on Thursday,
                September 6th, one of the members that was in the hunting
                party that was investigated, Andrew Noel, he went to a
                whaling commissioner and asked to borrow some of the
                whaling commission’s weapons. And the commissioner he
                spoke to said, I’ll have to check with the president of the
                whaling commission, which he did. And they got
                authorization to borrow the weapons.

P. 15 lines 13-20. Agent Giles also reported that the commissioner he spoke to said “I’ll

have to check with the president of the whaling commission.” Agent Giles should be

precluded from presenting hearsay testimony that defendant Noel asked to borrow

weapons and from presenting hearsay testimony as to what may have been the whaling

commissioner’s response.. Fed. R. Evid. 802.

        In a similar vein, witness Giles offered hearsay testimony that Defendant Noel

asked and or was told by the harbormaster of Neah Bay that he could borrow a boat. P.17

lines 13 – 24. Witness Giles should also be precluded from presenting hearsay testimony

that defendant Noel asked to borrow a boat and from presenting hearsay testimony as to

what may have been the harbormaster’s response. Fed. R. Evid. 802.1

        3. Agent Giles knowledge of defendant’s use of a 50 caliber weapon is also

based upon hearsay, rather than upon personal knowledge.


1
  Hearsay testimony was also elicited from Giles regarding the alleged actions of the defendants
and the whale prior to the arrival of the Coast Guard. His answers to questions regarding the
activities prior to his arrival were based on “reports by witnesses”. Witness Giles should
therefore also be precluded from offering hearsay testimony from these “witnesses” regarding the
actions of the whale or the defendants that occurred prior to his arrival.
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       Agent Giles should be precluded from testifying regarding a .577 caliber weapon

allegedly used by defendant Noel. It is apparent that any information he received

regarding this was based upon hearsay obtained from others:

              Q: [Y]ou mentioned three weapons. And you earlier said
              that two weapons were recovered off of the boats. Can you
              explain the discrepancy?

              A: Yes. Apparently they did not have ammunition for the
              .50 caliber weapon. So it was not taken out in the boats
              when they went on them Saturday. The .577 caliber, from
              statements that we have heard from other people, after they
              harpooned the whale on the morning of the 8th, the person,
              Andrew Noel, picked up the .577 weapon and fired a shot.
              And as he walked to the front of the boat to get up on the
              front of the small boat, he had an accidental discharge.
              That accidental discharge went through the top front of the
              boat and exited the bow of the boat just above the water
              lien. And that’s a big heavy caliber weapon. So when that
              gun went off, it flew out of his hands and flew behind him,
              striking the other person in the boat in the head, and then
              fell overboard into the water.

              Q: Who was the person it struck?

              A: That was Wayne Johnson.

       4. Witness Giles should also be precluded from presenting testimony as to

whether defendant’s conduct was “authorized”, as this is constitutes a conclusion of

law.

              Q: Have you or your agents had an opportunity to assess
              whether either the whaling commission, the Makah whaling
              commission, or the Makah tribal council had authorized
              any of this activity?

              A: Yes. We conducted interviews of the tribal council.
              And Mr. Ben Johnson, who is the president of the Council,
              and several others said that they did not authorize the hunt
              of the whale. They did not know about the hunt of the
              whale.
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First, Giles’ statement that the Tribal Council and the Makah whaling commission did not

authorize the whale hunt is a conclusion of law and does not constitute factual testimony.

         Second, testimony as to whether the defendant’s conduct was authorized by the

Makah whaling commission or by the Makah Tribal Council constitutes hearsay if

presented through the testimony of Agent Giles.

         Witness Giles should be precluded from offering legal conclusions or his legal

opinion at trial regarding the defendant’s right to hunt whales pursuant to the

Makah Treaty of 1855 or the Whaling Convention Act.

         A witness who is not an expert may not render an opinion on the ultimate legal

issue in the case nor should they testify in the form of legal conclusions. During the

course of seeking the Indictment, Agent Giles testified as follows:

                Q: Are you familiar with the Makah Treaty of 1855, familiar in the sense
that

                    are you aware it includes a provision for whaling?

                A: Yes, I am.

                Q: And so the Makahs do have a treaty right to conduct whaling?

                A: Yes, they do.

                Q: Are they entitle to exercise that right without compliance with the
Marine
                 Mammal Protection Act?

                A: No, they are not. They still have to meet the requirements of the act.

   See Grand Jury Testimony, pg. 6 line 18, pg.7 line 4. Witness Giles’ testimony that

  Makah tribal members do not have treaty right to conduct whaling absent compliance

with Marine Mammal Protection Act is opinion on an ultimate issue in the case and calls

  for a legal conclusion. Ordinarily, a lay witness may testify only as to matters within
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 their personal knowledge. Fed. R. Evid. 602. Although a witness duly qualified as an

expert witness may render legal opinions regarding the ultimate issues in the case, Agent

 Giles is not an expert on the Makah Treaty nor the Marine Mammal Protection Act. He

was employed as a NMFS agent just one week before the facts in this case arose. As such

   his expression of opinions on the interplay between the Treaty of Neah Bay and the

                     Marine Mammal Protection Act should be precluded.

       6. The Makah Tribe Gray Whale Management Plan is ex post facto as

applied to defendant. It would be unduly prejudicial to allow testimony that

defendant’s conduct failed to conform to the Plan, since the “Plan” was not in effect

on September 8, 2007.

       Throughout his Grand Jury testimony, Agent Giles presents testimony regarding

whether Defendant’s conduct was in conformity with the Makah Tribe Gray Whale

Management Plan and a “Cooperative Agreement” between the Makah Tribe and the

National Marine Fisheries Service. For example, the following testimony was presented

to the Grand Jury:

               Q: Have you had an opportunity to review the Makah
               whale management plan and the cooperative agreement to
               determine what provisions are in place to ensure that the
               whale hunt, if it’s authorized, is conducted appropriately?

               A: Yes, I have.

               Q: And was this whale hunt conducted in accordance with
               those procedures as far as you know?

               A: No, it wasn’t.

               Q: Can you tell us in what ways it was not?

Witness Giles then goes on to testify as to various ways he perceived that the defendant’s

conduct was not it compliance with the plan.
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        This was touched on by one of the Grand Jurors.

                GRAND JUROR: …when the Makah were given the
                permissions and the approval to take the whale, or however
                many they were approved to take, when did that expire?
                Was there some expiration date to state you can take your
                five a year up until—

                THE WITNESS: I am not sure of the exact expiration date.
                But, yes, it did expire. I think it was 2002.

                MR. OESTERLE: Are you generally aware that the quotas
                given by the International Whaling Commission run a span
                of five years?

                THE WITNESS: Yes, they did.

                MR. OESTERLE: And it would have expired in 2002.
                Does that sound correct?

                THE WITNESS: I thought it was 2002 that it expired.

P. 36, line 14 – P.37, line 5.

        The Makah Tribe Gray Whale Management Plan for the years 1998 to 2002

expired by its terms on December 31, 2002 (Exhibits A, B), as did its Cooperative

Agreement with the National Marine Fisheries Service (Exhibit C), which expressly

states as follows:

                This Agreement is in effect from the date of the second
                party’s signature through December 31, 2002.

(Id., ¶ 7, pg. 3). Consequently, testimony that the defendant’s conduct failed to conform

to the Plan or the Agreement should be precluded.    Although the Makah Tribal Council,

realizing this oversight, readopted the Plan on September 26, 2007 as a law or ordinance

of the Makah Tribe (Exhibit D), that occurred after the date of the offense alleged in this

case. Consequently, the requirements of such Plan are ex post facto as applied to the

defendant. U.S. Const., Art. I, Sec. 8. See also, 25 U.S.C. 1302 (9). In any event, since
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neither the Management Plan nor Cooperative Agreement were in effect on September 8,

2007 the Government should not be allowed to present testimony regarding defendant’s

alleged “noncompliance” with them.

         The allowance of testimony that defendant’s conduct did not conform to such

  Plan which was not in effect on the date of the alleged offense is not relevant, Fed. R.

   Evid. 402. To the extent it has any relevance whatsoever to whether the defendant

   committed the alleged offenses, it is also unduly prejudicial, given that it was not a

requirement applicable on the date of the offense alleged in the indictment. Fed. R. Evid.

                                           403.

       7. Testimony regarding the whale’s condition should be precluded or

severely limited, as the as the government destroyed the evidence, which seriously

hinders the defendant in examining the evidence presented against him and

precludes him from having his own expert examine or testify regarding the

condition of the whale.

By its own admission, the Government sank the whale which the defendant allegedly

       hunted.

       GRAND JUROR: Was the whale cut loose and allowed to sink, or was that an

       accident?

       THE WITNESS: No. it was a decision was made to cut the whale loose.

       GRAND JUROR: By—who made that decision?

       THE WITNESS: I think it was somebody in NOAA that made that decision and

       relayed it out to the person on the scene.
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Grand Jury Testimony of William Giles, pg. 35 lines 1-8.         An example of the prejudice

to the defendant(s) created by the government’s action in destroying the evidence is

found on page 31 where witness Giles states in response to grand juror’s question that he

“believe[d]” that the .460 Wetherby “did the majority of the shots.” Absent access to the

whale’s carcass, the defendant’s are severely limited in their ability to present any

forensic evidence to demonstrate which weapons were and were not and to what extent

any of the weapons were used. This evidentiary obstacle is observed by one of the grand

juror’s in his or her question on to witness Giles when they ask “And you have no

evidence to say that the harpoons that were in the whale came from either the small boat

or large boat.” Page 33 lines 21-23.

             Defendant is perhaps most concerned about the potential for Government

witnesses testifying regarding the length of time between when defendant first struck the

whale involved in this case and when it died—a period of ten to twelve hours, and using

 this interval to assert that the whale must have suffered as a consequence of defendant’s

 alleged conduct. This is unduly prejudicial. It was the Government’s intervention, and

                       the Government’s lengthy holding of the whale while



                                          Conclusion

       For the foregoing reasons, the above mentioned testimony or evidence should be

precluded. The Court should enter a pretrial order in limine limiting the Government

from presenting it.



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                                   Exhibits A – D

                                   Resolution 67-98 adopting Gray
                                   Whale Management Plan for years
                                   1998-2002, 2 pgs.
                                   Management Plan for years 1998-
                                   2002 (pg. 1 only).
                                   Cooperative Agreement, pg. 3
                                   only.
                                   D. Resolution 153-07 dated
                                   September 26, 2007.
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